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                        In the United States District Court
                            Eastern District of Arkansas
                                 Western Division

John Douglas Stroud

v.                   Case No.   tf 't'jc.vlr.;61'- UPM
Jacob Law Group, PLLC
Michael A. Jacob, II                                            Defendants
                                                                !
                                                                '


                                                                !

                                   Complaint      This case assigned to District J
                                                  and to Magistrate Judge _ _.LJL..S!~~~~
     1.   Defendants sued John Douglas Stroud (Doug Stroud) on a

consumer debt (a) in a county in which he did not sign the contract sued

upon, nor in which he resided at the commencement of the debt-collection

civil action; (b) for more money that allowed by the agreement creating the

debt or by law; (c) past Arkansas' three-year statute of limitations for a suit

on an account.


                                   Jurisdiction

     2.   Jurisdiction of this Court arises under 28U.S.C.§1331, 1367, and

15 u.s.c. § 1692k(d).

     3.   This action arises out of Defendants' violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), and the

Arkansas Fair Debt Collection Practices Act (" AFDCPA") and Ark. Code

Ann.§ 17-24-501, et seq., in their illegal efforts to collect a consumer debt

from Doug Stroud.

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         4.    Venue is proper in this District because the acts and transactions

occurred here, Plaintiff resides here, and Defendants transact business here.

         5.    Defendants have transacted business within Arkansas by

attempting to collect this debt from Doug Stroud using litigation, while he

was located within and residing in Arkansas.


                                               Parties

                                    Jacob Law Group PLLC

         6.    Jacob Law Group PLLC (Jacob Law Group), is a foreign limited

liability company organized under Mississippi law operating from 2623

West Oxford Loop, Oxford, Mississippi 38655.

         7.    Jacob Law Group is a law firm.

         8.    The FDCPA and the AFDCPA apply "to lawyers engaged in

litigation[.]"      1




                               Jacob Law Group is a debt collector
         9.    Jacob Law Group is a "debt collector" within the meaning of 15

U.S.C. § 1692a(6) and Ark. Code Ann.§ 17-24-502(5)(A).

         10. The term "debt collector" has two prongs:

               a.       any person who uses any instrumentality of interstate

                        commerce or the mails in any business the principal purpose

                        of which is the collection of any debts; or



1   See Heintz v. Jenkins, 514 U.S. 291, 115 S. Ct. 1489, 131 L. Ed. 2d 295 (1995).


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              b.    any person who regularly collects or attempts to. collect,

                    directly or indirectly, debts owed or due or asserted to be

                    owed or due another.'

         11. Jacob Law Group uses instrumentalities of interstate commerce or

the mails in its business the principal purpose of which is the collection of

debts.

        12. Jacob Law Group regularly collects or attempts to collect, directly

or indirectly, debts owed or asserted to be owed to another.


                                        Michael Jacob

        13. Michael A. Jacob, II (Michael Jacob) is an individual who, upon

information and belief, resides in Lafayette County, Mississippi.

        14. Michael Jacob is an attorney licensed to practice law in Arkansas.

        15. At the time of the events giving rise to the Complaint, Michael

Jacob primarily collected defaulted consumer debt through litigation for his

principal, Jacob Law Group.

        16. The FDCPA and the AFDCPA apply "to lawyers engaged in

litigation[.]"'




2   15 U.S.C. § 1692a(6) and Ark. Code Ann.§ 17-24-502(5)(A).

'See Heintz v. Jenkins, 514 U.S. 291, 115 S. Ct. 1489, 131 L. Ed. 2d 295 (1995) ..


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                            Michael Jacob is a debt collector
      17. At the time of the events giving rise to this Complaint, Michael

Jacob was a "debt collector" within the meaning of 15 U.S.C. § 1692a(6) and

Ark. Code Ann.§ 17-24-502(5)(A).

      18. The term "debt collector" has two prongs:

           a.    any person who uses any instrumentality of interstate

                 commerce or the mails in any business the principal purpose

                 of which is the collection of any debts; or

           b.    any person who regularly collects or attempts to collect,

                 directly or indirectly, debts owed or due or asserted to be

                 owed or due another.•

      19. Michael Jacob uses instrumentalities of interstate corr;tmerce or the
                                                                  '
mails in his business and the business of the Jacob Law Group, the principal

purpose of which is the collection of debts.

     20. Michael Jacob individually and as an agent for the Jacob Law

Group regularly collects or attempts to collect, directly or indirectly, debts

owed or asserted to be owed to another.


                                 Factual Allegations

     21. Within one year immediately preceding the filing of this pleading,

Defendants attempted to collect from Doug Stroud a financial obligation



• 15 U.S.C. § 1692a(6) and Ark. Code Ann.§ 17-24-502(5)(A).


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that was primarily for personal, family or household purposes,.and is

therefore a '~debt" as that term is defined by 15 U.S.C. § 1692a(S) and Ark.

Code Ann.§ 17-24-502(4).

        22. Doug Stroud has continuously lived in Pulaski County, Arkansas

for his entire adult life.

        23. In 2010, Doug Stroud, while at his home in Pulaski County,

Arkansas, went online and applied for a loan with Pioneer Services a

Division of MidCountry Bank (Pioneer Services).

        24. Doug Stroud had applied for and received loans from Pioneer

Services before.

        25. Doug Stroud was approved for the loan.

        26. The last payment Doug Stroud made on the loan was in February

2013.

        27. Pioneer Services retained Defendants to collect on the loan from

Doug Stroud after he defaulted.

     28. On or about November 30, 2016, Pioneer Services commenced a

civil action against Doug Stroud by filing a debt collection complaint

against him in the Circuit Court of Lonoke County, Arkansas.

     29. The debt collection complaint asserts a cause of action on an

account by alleging as follows: "Plaintiff, holds in due course a claim

against the Defendant pursuant to a PIONEER SERVICES A DIVISION OF
                                                                 '

MID COUNTRY BANK account. The account is in default and is presently

due and owing in the amount listed below."

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      30. The statute of limitations to sue on an account in Arkansas is three

years.'

      31. The debt collection complaint alleged that Doug Stroud's account

with Pioneer Services was in default and that he owed Pioneer Services

$10,114.20 in "Principle and Accrued Interest."

      32. The debt collection complaint was signed by Michael Jacob, who

at the time was an agent for his principal Jacob Law Group.

      33. The debt collection complaint was filed past Arkansas' three-year

statute of limitations for a suit on account.

      34. On or about December 16, 2016, Doug Stroud was served with the

summons and debt collection complaint at his home in Pulaski County,

Arkansas.

      35. Doug Stroud was confused as to why he had been sued in Lonoke

County, Arkansas, because he did not live in Lonoke County and had not

applied for a loan in Lonoke County.

      36. After being served with the debt collection complaint, Doug

Stroud obtained and reviewed his credit reports from Equifax, Experian,

and Trans Union.

      37. All three of Doug Stroud' s credit reports showed that on

November 30, 2016, the same day the debt collection complaint was filed




'See Northwest Arkansas Recovery Inc. v. Davis, 89 Ark. App. 62, 200 S.W.3d 481 (2004)
(citing Ark. Code Ann.§ 16-56-105).


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against him, that Pioneer Services reported to each credit reporting agency

that he only owed $6,419.00, not the $10,114.20, he had been sued for.

     38. Doug Stroud retained counsel and became contractually obligated

for attorney fees to defend the debt collection civil action.

     39. On January 12, 2017, Doug Stroud filed and served a motion to

dismiss for improper venue in the debt collection civil action.

     40. Defendants never filed a response to the motion to dismiss.

     41. On April 3, 2017, the Circuit Court signed, filed, and entered an

order granting the motion to dismiss for improper venue and dismissing the

case without prejudice.

     42. Defendants' attempts to collect a debt from Doug Stroud by filing

a civil action in a judicial district or similar legal entity other th~n where he

resides or signed the contract were false and deceptive attempts to collect a

debt in violation of the FDCPA, 15U.S.C.§1692i, and the AFDCPA, Ark.

Code Ann.§ 17-24-510(a).

     43. Defendants' attempts to collect from Doug Stroud $10,114.20 in
                                                                    '
principle and interest, when in actuality he only owed $6,419.00 as reported

on by Pioneer Services to the credit reporting agencies, were false and

deceptive attempts to collect a debt in vi()lation of the FDCPA, in violation
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of 15 U.S.C. §§ 1692d, 1692e, 1692e(2), 1692e(5), 1692e(7), 1692e(10), 1692f,

and 1692f(l), and the AFDCPA, including but not limited to Ark. Code Ann.

§§ 17-24-505(a), 17-24-506(a), 17-24-506(b)(2), 17-24-506(b)(5), 17-24-

506(b )(7), 17-24-506(b )(10), 17-24-507(a), and 17-24-507(b ).

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      44. Defendants' attempts to collect a debt from Doug Stroud that was

beyond the Arkansas three-year statute of limitations for suit on an account

were false and deceptive attempts to collect a debt in violation of numerous

and multiple provisions of the FDCPA, including but not limited to 15

U.S.C. §§ 1692d, 1692e, 1692e(2), 1692e(4), 1692e(5), 1692e(7), 1692e(10),

1692f and 1692f(l), amongst others,' and the AFDCPA, including but not

limited to Ark. Code Ann.§§ 17-24-505(a), 17-24-506(a), 17-24-506(b)(2), 17-

24-506(b )(4), 17-24-506(b )(5), 17-24-506(b )(7), 17-24-506(b )(10), 17-24-507(a),

and 17-24-507(b).


                                          Summary

      45. Defendants' false representations were unfair and deceptive

attempts to collect a debt, which materially misled Doug Stroud as to his

rights under the FDCPA and the AFDCPA, and which affected· and

frustrated Doug Stroud' s ability to intelligently respond to Defendants'

collection efforts.

      46. All of the communications as alleged herein by these Defendants

and the employees and agents of Jacob Law Group, constitute false and

deceptive communications made in violation of numerous and multiple

provisions of the FDCPA and the AFDCPA including but not limited to all

of the provisions cited herein, amongst others.



•See Freyennuth v. Credit Bureau Services, Inc., 248 F.3d 767 (8th Cir. 2001) (the attempt to
collect a time-barred consumer debt through litigation is a violation of the FDCPA).


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                        Respondeat Superior Liability

     47. The acts and omissions of Michael Jacob, an agent of Jacob Law

Group, who communicated with Doug Stroud was committed within the

time and space limits of his agency relationship with his principal, Jacob

Law Group.

     48. The acts and omissions by Michael Jacob was incidental to, or of

the same general nature as, the responsibilities he was authorized to

perform by Jacob Law Group in collecting consumer debts.

     49. By committing these acts and omissions against Doug Stroud,

Michael Jacob was motivated to benefit his principal, Jacob Law Group.

     50. Jacob Law Group is therefore liable to Doug Stroud.


                                    Standing

     51. Doug Stroud has standing under Article III of the United States

Constitution because he has suffered an injury in fact, the injury in fact is

traceable to the challenged conduct of Defendants described herein, and his

injury in fact is likely to be redressed by a favorable judicial decision in this

Court.

     52. Doug Stroud' s injury in fact is both particular and concrete

because he suffered an invasion of legally protected interest that is concrete,

particularized and actual or imminent.

     53. Many provisions of the FDCPA and the AFDCPA recognize a

consumer's rights and redress for violations of those rights, including the


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                         '                                          .
right to be left alone from debt collection efforts in filing lawsuits judicial

districts where the consumer neither signed the loan nor resides, in the right

not to be sued past the applicable statute of limitations, and including the

right not to be sued for more money than allowed by any agreement or law.

     54. Doug Stroud has standing because he suffered actual damages,

including incurring an obligation to pay attorney fees to defend the debt

collection civil action, and garden variety emotional distress damages for

being sued in a county he had no connection with, being sued past the

applicable statute of limitations, and being sued for more money that

allowed under any agreement or law.


                               Causes of Action

         Count I- Violations of the FDCPA, 15U.S.C.§1692, et seq.

     55. Doug Stroud incorporates by reference all of the above

paragraphs of this Complaint as though fully stated herein.

     56. The foregoing acts and omissions of Defendants constitute

numerous and multiple violations of the FDCPA, including but' not limited

to 1692d, 1692e, 1692e(2), 1692e(4), 1692e(5), 1692e(7), 1692e(10), 1692f,

1692£(1), and 15 U.S.C. § 1692i, with respect to Doug Stroud.

     57. As a result of Defendants' violations of the FDCPA, Doug Stroud

is entitled to actual damages under 15 U.S.C. § 1692k(a)(l); statutory

damages in an amount up to $1,000 against each Defendant un4er 15 U.S.C.
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§ 1692k(a)(2)(A); and, reasonable attorney's fees and costs und~r 15 U.S.C. §

1692k(a)(3), from Defendants herein.


 Count II - Violations of the AFDCPA, Ark. Code Ann.§ 17-24;..501, et seq.

      58. Doug Stroud incorporates by reference all of the above

paragraphs of this Complaint as though fully stated herein.

      59. The foregoing acts and omissions of Defendants constitute

numerous and multiple violations of the AFDCPA, including by not limited

to Ark. Code Ann. 17-24-505(a), 17-24-506(a), 17-24-506(b )(2), 17-24-

506(b )(4), 17-24-506(b)(5), 17-24-506(b)(7), 17-24-506(b)(10), 17-24-507(a), 17-

24-507(b), and 17-24-510, with respect to Doug Stroud.

      60. As a result of Defendants' violations of the AFDCPA, Ark. Code

Ann.§ 17-24-512(a)(l); statutory damages in an amount up to $1,000.00

against each Defendant under Ark. Code Ann.§ 17-24-512(a)(2)(A); and

reasonable attorney's fees and costs under Ark. Code Ann.§ 17-24-

512(a)(3)(A)" from Defendants herein.


                                     Jury Demand
      61. Doug Stroud demands a trial by jury.'


                                   Prayer for Relief

      62. Plaintiff Doug Stroud prays that judgment be entered against

Defendants as follows:


'U.S. Const. amend. 7 and Fed. R. Civ. P. 38.

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    a.    for an award of actual damages under 15 U.S.C . .§t




          1692k(a)(l), and Ark. Code Ann.§ 17-24-512(a)(l);

    b.    for an award of statutory damages of $1,000.00 under 15

          U.S.C. § 1692k(a)(2)(A) against each Defendant;

    c.    for an award of statutory damages of $1,000.00 under Ark.

          Code Ann.§ 17-24-512(a)(2)(A), against each Defendant;

    d.·   for an award of costs of litigation and a reasonable attorneys'

          fees under 15 U.S.C. § 1692k(a)(3), and Ark. Code Ann.§ 17-

          24-512(a)(3)(A), against all Defendants; and

    e.

                              By:~~-1-~+.--,~~--+-~~~~-
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                                  Verification
State of Arkansas         )
County of Pulaski         )

     Under 28U.S.C.§1746, Plaintiff John Douglas Stroud, having first
been duly sworn and upon oath, verifies, certifies, and declares as follows:

      1. I am the Plaintiff in this civil action.
      2. I have read the foregoing Complaint prepared by my attorneys.
      3. I believe that all of the facts contained in the Complaint are true,
to the best of my knowledge, information, and belief formed after a
reasonable inquiry.
      4. I believe that this Complaint is well grounded in fact and
warranted by existing law or by a good faith argument for the extension,
modification, or reversal of existing law.
      5. I believe that this Complaint is not interposed for any improper
purpose, such as to harass any named Defendant, cause unnecessary delay
to any named Defendant, or create a needless increase in the cost of
litigation to any named Defendant.
      6. I have filed this Complaint in good faith and solely for the
purposes set forth in it.

     I declare under penalty of perjury that the foregoing is true and
correct.

This 13.. day of October, 2017.
